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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


EDELSON PC, an Illinois             )
                                            Case No.:
Professional corporation,           )
                                    )       20-cv-07115
      Plaintiff,                    )
                                    )
THOMAS GIRARDI, an individual,      )       Honorable Matthew F. Kennelly
et al.,                             )
                                    )
      Defendants.                   )
                                    )
                                    )


      NOTICE OF MOTION FOR SUMMARY JUDGMENT, OR IN THE
       ALTERNATIVE FOR PARTIAL SUMMARY JUDGMENT BY
                    DEFENDANT DAVID LIRA




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       TO THIS HONORABLE COURT AND ALL PARTIES AND THEIR COUNSEL:

       PLEASE TAKE NOTICE that Defendant DAVID LIRA seeks an order of summary

judgment, or in the alternative, partial summary judgement pursuant to Federal Rules of Civil

Procedure, Rule 56. Mr. Lira seeks an order dismissing Plaintiff’s Complaint, or in the

alternative, partially dismissing the following: Count I-Unjust Enrichment; Count II—

Accounting; Count III—Breach of Contract; and/or Count V-Conversion.

       Edelson’s complaint seeks fees it alleges it is owed pursuant to agreements between

Edelson and Girardi Keese. Edelson asserts the agreements are enforceable fee agreements

entitling them to recovery of those fees in this action. Since Girardi Keese and Thomas Girardi

have been forced into involuntary bankruptcy, Edelson is seeking to collect those legal fees from

Mr. Lira, individually, even though Mr. Lira was not a partner at Girardi Keese, had no

ownership interest in Girardi Keese, and never received any fees or money from the Lion Air

matters.

       Edelson cannot collect the alleged contingency fees from Mr. Lira as a matter of law. It is

well settled under California law, Illinois Law, and as part of the ABA Model Rules of

Professional Conduct that lawyers who are not in the same law firm shall not divide a fee for

legal services unless: (1) the lawyers enter into a written agreement to divide the fee; and (2) the

client has consented in writing, either at the time the lawyers entered into the agreement to divide
the fee or soon thereafter as reasonably practicable.

       Mr. Lira did not personally agree to divide any fee. There is also no timely consent by the

underlying clients authorizing a division of legal fees between Girardi Keese and Edelson.

Edelson’s attempt to remedy its failure to obtain proper fee agreements, by obtaining subsequent

agreements in December 2021, more than two and a half years after the initial representation

began; after the underlying cases were filed; 21 months after the cases were settled and

dismissed; after the instant lawsuit was filed; and after Defendant Griffin filed a Motion for

Judgment on the pleadings in this action identifying the mandatory requirements of a valid fee
agreement, does not cure its failure to obtain valid agreements during the representation. The


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agreements are not timely and do not establish any enforceable fee sharing agreement between

Girardi Keese and Edelson, let alone Edelson and Mr. Lira, individually.

       Because the fee agreements by which Edelson claims it is entitled to a fee are contrary to

public policy and void as a matter of law their claims for unjust enrichment, conversion, breach

of contract, and accounting all likewise fail. Edelson legally has no right to the fees on which

those claims are based.

       Mr. Lira seeks summary judgment, or in the alternative, partial summary judgment. This

motion is based upon the Notice of Motion; the accompanying Memorandum of Law in Support

of Summary Judgement; the Local Rule 56.1 Statement of Material Facts; the declarations and

exhibits submitted and any oral argument requested by this Court.




                                                                   DAVID LIRA

                                                                /s/ Leigh P. Robie
                                                     By:   __________________________
                                                                 His Attorney

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                                CERTIFICATE OF SERVICE
       I hereby certify that on March 25, 2022, I electronically filed the foregoing document
with the Clerk of Court, using CM/ECF. I also certify that the foregoing document is being
served this day on all counsel of record via transmission of Notices of Electronic Filing
generated by CM/ECF.


                                             /s/ Leigh P. Robie




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